Case 3:20-cv-00106-BJD-MCR Document 126 Filed 09/23/22 Page 1 of 2 PageID 3751




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

 DAWN GALLASHAW, Administrator
 and Personal Representative of
 the Estate of Antonio Gallashaw,

                    Plaintiff,

 v.                                              Case No. 3:20-cv-106-BJD-MCR

 FLORIDA DEPARTMENT OF
 CORRECTIONS, et al.,

                  Defendants.
 ____________________________________

                                     ORDER

       Plaintiff moves the Court to compel the Florida Department of Law

 Enforcement (FDLE) to comply with a Rule 45 subpoena or for contempt (Doc.

 101; Pl. Mot.). Plaintiff explains she served a subpoena on the FDLE on

 January 19, 2022, seeking “[a]ll notes, communications, and documents of any

 type from 2021 concerning the cause of death of Antonio Gallashaw, including

 any communications with Dr. Peter Gillespie.” See Pl. Mot. ¶¶ 1-2. See also

 Doc. 101-1 at 2. The subpoena commanded a response by January 25, 2022.

 See Pl. Mot. ¶ 2. See also Doc. 101-1 at 2. Plaintiff does not contend the FDLE

 objected to the subpoena, nor did the FDLE move to quash or modify it. See

 Fed. R. Civ. P. 45(d)(2)(B), (d)(3) (providing procedures for a person to object to

 or move to quash a subpoena). On the contrary, the FDLE sent Plaintiff an
Case 3:20-cv-00106-BJD-MCR Document 126 Filed 09/23/22 Page 2 of 2 PageID 3752




 invoice for a good faith deposit to process the subpoena, and Plaintiff sent the

 FDLE a check, which the FDLE deposited. Id. ¶¶ 4, 5. Still, however, the FDLE

 did not respond to the subpoena. Id. ¶ 6. Before filing this motion, Plaintiff’s

 attorney called the FDLE records department numerous times over about two

 months to inquire about the status. Id. ¶ 6. See also Doc. 101-2 ¶¶ 2-7.

       The Court grants Plaintiff’s motion to the extent that it directs the

 FDLE to comply with the subpoena within fourteen days of receiving this

 Order, or show cause why it should not be held in contempt for its failure to

 do so. See Fed. R. Civ. P. 45(g) (“The court for the district where compliance is

 required . . . may hold in contempt a person who, having been served, fails

 without adequate excuse to obey the subpoena or an order related to it.”).

       Plaintiff must send the FDLE a copy of this Order and file a

 notice showing proof of receipt.

       DONE AND ORDERED at Jacksonville, Florida, this 23rd day of

 September, 2022.




 Jax-6
 c:
 Counsel of Record

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